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          IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DIVISION OF TEXAS
                   BEAUMONT DIVISION



                              No. 1:05CR136-005


United States of America


v.


Janna Nicole Helmich
                                                Defendant




         Report and Recommendation Re: Petition for Warrant
             or Summons for Offender Under Supervision


      Pending is a “Petition for Warrant or Summons for Offender Under
Supervision,” filed March 4, 2010, alleging that defendant violated conditions of
supervised release. This matter is referred to the undersigned United States
magistrate judge for review, hearing, and submission of a report with recom-
mended findings of fact and conclusions of law. See United States v. Rodriguez,
23 F.3d 919, 920 n.1 (5th Cir. 1994); see also 18 U.S.C. § 3401(i) (2000); Local
Rules for the Assignment of Duties to United States magistrate judge.
                I. The Original Conviction and Sentence

      Defendant was sentenced on October 10, 2006, before The Honorable Thad
Heartfield, U.S. District Judge of the Eastern District of Texas, after pleading


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guilty to the offense of possession with intent to distribute less than 5 grams of
cocaine base, a Class C felony. This offense carried a statutory maximum
imprisonment term of 20 years. The guideline imprisonment range, based on a
total offense level of 16 and a criminal history category of I, was 21 to 27 months.
Defendant was subsequently sentenced to 24 months imprisonment followed by
2 years supervised release subject to the standard conditions of release, plus
special conditions financial disclosure; drug aftercare; and a $100 special
assessment.

                        II. The Period of Supervision

      On April 1, 2008, defendant completed her period of imprisonment and
began service of the supervision term.

                                III. The Petition

      United States Probation filed the pending Petition for Warrant or
Summons for Offender Under Supervision on March 4, 2010. The petition
alleges that defendant violated the following conditions of release:

      Mandatory Condition:            Defendant shall not commit another fed-
                                      eral, state, or local crime.
      As grounds, the petition alleges that defendant pled guilty on January 8,
2010 in Jefferson County, Texas to securing execution of document by deception,
and was sentenced to one year state jail.

                                IV. Proceedings

      On February 9, 2011, the undersigned United States Magistrate Judge
convened a hearing pursuant to Rule 32.1, Federal Rules of Criminal Procedure,
to hear evidence and argument on whether defendant violated conditions of
supervised release, and the appropriate course of action.

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         At the revocation hearing, counsel for the government and the defendant
announced an agreement as to a recommended disposition. Defendant would
agree to plead “true” to the allegation that he violated a mandatory condition of
supervised release by failing to not commit another federal, state, or local crime.
In exchange for defendant’s plea of “true,” the court should revoke defendant’s
supervised release and impose 4 months imprisonment, with no term of
supervised release thereafter.

         Defendant pled “true” to the allegation that she violated a mandatory
condition of supervised release by failing to not commit another federal, state,
or local crime.

                            V. Principles of Analysis

         According to 18 U.S.C. § 3583(e)(3), the Court may revoke the term of
supervised release and require defendant to serve in prison all or part of the
term of supervised release authorized by statute for the offense that resulted in
such term of supervised release without credit for time served on post-release
supervision, if the Court, pursuant to the Federal Rules of Criminal Procedure
applicable to revocation of probation or supervised release, finds by a preponder-
ance of the evidence that the defendant violated a condition of supervised
release. The original offense of conviction was a Class C felony; therefore, the
maximum term of imprisonment authorized under 18 U.S.C. § 3583(e)(3) is 2
years.

         According to U.S.S.G. § 7B1.1(a), if the court finds by a preponderance of
the evidence that defendant violated a mandatory condition of supervised release
by failing to not commit another federal, state, or local crime, defendant will be
guilty of committing a Grade B violation. U.S.S.G. § 7B1.3(a)(1) indicates upon


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a finding of a Grade B violation, the Court shall revoke supervised release.
U.S.S.G. § 7B1.4(a) provides that in defendant’s case a revocation of supervised
release based on a Grade B violation and a criminal history category of I, the
guideline imprisonment range is 4 to 10 months.

      According to U.S.S.G. § 7B1.3(f), any term of imprisonment upon
revocation of supervised release shall be ordered to be served consecutively to
any sentence of imprisonment that the defendant is serving, whether or not the
sentence of imprisonment being served resulted from the conduct that is the
basis of the revocation of supervised release.

      18 U.S.C. §§ 3583(e) and 3553(a) provide that in determining sentence, the
court shall consider:
      1.    The nature and circumstance of the offense and the history
            and characteristics of the defendant; see 18 U.S.C. § 3553(a)(1);


      2.    The need for the sentence imposed to afford adequate deterrence to
            criminal conduct; to protect the public from further crimes of the
            defendant; and to provide the defendant with needed educational or
            vocational training, medical care, other corrective treatment in the
            most effective manner; see 18 U.S.C. §§ 3553 (a)(2)(B)-(D);

      3.    Applicable guidelines and policy statement issued by the Sentencing
            Commission, for the appropriate application of the provisions when
            modifying or revoking supervised release pursuant to 28 U.S.C. §
            994(a)(3), that are in effect on the date the defendant is sentenced;
            see 18 U.S.C. 3553(a)(4); see also 28 U.S.C. § 924(A)(3);

      4.    Any pertinent policy statement issued by the Sentencing Commis-
            sion, pursuant to 28 U.S.C. § 994(a)(2), that is in effect on the date
            the defendant is sentenced; see 18 U.S.C. § 3553(a)(5); and




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      5.    The need to avoid unwarranted sentence disparities among
            defendants with similar records who have been found guilty of
            similar conduct; see 18 U.S.C. § 3553(A)(6).


                                VI. Application

      Defendant pled “true” to the allegation that he violated a mandatory
condition of supervised release by failing to not commit another federal, state,
or local crime.. Based upon defendant’s plea of “true” to the allegations and
U.S.S.G. § 7B1.1(a), the undersigned finds that defendant violated conditions of
supervised release by failing to not commit another federal, state or local crime.

      The undersigned has carefully considered each of the five factors listed in
18 U.S.C. §§ 3583(e) and 3553(a). Defendant’s violation is a Grade B violation
with policy guidelines suggesting 4 to 10 months imprisonment upon revocation.
Defendant has demonstrated inability to adhere to conditions of supervision.
Defendant did not comply with conditions of his supervision by failing to not
commit another federal, state, or local crime. As such, incarceration appropri-
ately addresses defendant’s violation. The sentencing objectives of punishment,
deterrence and rehabilitation will best be served by a term of incarceration.

                           RECOMMENDATIONS


      1.    The court should find that defendant violated a mandatory
            condition of supervised release, by failing to not commit
            another federal, state, or local crime, in the manner alleged in
            the petition.

      2.    The petition should be granted and defendant’s supervised
            release revoked pursuant to 18 U.S.C. § 3565.

      3.    Defendant should be sentenced to a term of imprisonment of
            4 months.


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      4.    Upon release of imprisonment, defendant should not be placed
            on supervised release.


                            OBJECTIONS

      At the close of the revocation hearing, defendant, defense counsel, and
counsel for the government each signed a standard form waiving their right to
object to the proposed findings and recommendations contained in this report,
consenting to revocation of supervised release as recommended herein, and
consenting to the imposition of the above sentence recommended in this report.
Defendant waived his right to be present and speak before the district judge
imposes the recommended sentence. Therefore, the court may act on the report
and recommendation immediately.


                   10 day of February,2011.
      SIGNED this _____


                                    ______________________________________
                                    Earl S. Hines
                                    United States Magistrate Judge




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